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                              U N ITE D STA TES D ISTR ICT CO UR T
                              SO UTH ERN D ISTR ICT O F FLO RID A

                             Case N o.:18-8l055-CV -M lD D LEBROO K S

  W Y N DH AM VA CA TIO N OW NERSH IP,
  I'
   N C-,etal.,

           Plaintiffs,



  TOTTEN FRANQUIDAVIS& BURK,LLC,
  eta1.,

           Defendants.
                                                  /

   O R DER O N M O TIO N TO W ITH DR AW A S A TTO R NE Y FO R D EFEN DA N T SA LK IN

           TH IS CA U SE is before the Courtupon the M otion ofD avid Steinfeld,Esq.,and the Law

  O ffice ofDavid Steinfeld,P.L.,seeking to w ithdraw as counselforD efendantJordan Salkin,filed

  onFebruary 15,2019.(DE 158).TheM otionstatesthatDefendantSalkinwasrecentlyconvicted
  and rem ains incarcerated for crim es com m itted in California, and that D efendant Salkin now

  w ishesto proceedrrtpse in thiscase.TheM otion com pliesw ith Southern D istrictofFloridaLocal

  Rule 11.1(d)(3),which requiresnotice to be served on the clientand opposing counsel,and a
  statem entofthe currentm ailing addressofthe client. The M otion is unopposed. The Courtbeing

  fully advised,itisO RD ER ED AN D A D JU DG ED that:

           TheM otiontoW ithdraw (DE 158)isGRANTED.
     2. David Steinfeld,Esq.,and the Law O ftice ofD avid Steinfeld,P.L.shallhave no further

           responsibility in this m atter and shallbe rem oved from the CM /ECF notification system

           and from the certificatesof service fora11pleadings,correspondence,and orders.




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     3. Defendant Jordan Salkin has subm itted notification of his intent to proceed pro se.

        (DE 158at6).Al1partiesarethereforeDIRECTED tosel'vepapersonDefendantSalkin
        atthefollowing address: Jordan Salkin,Booking No.3100098,Theo Lacy Facility,501

        City Drive South,Orange,CA 92868.

     4. A ttorney D avid Steinfeld,Esq.,m ustSER V E a copy ofthis Orderupon D efendantSalkin

        w ithin tw o days.

        A 11parties are advised thatno litigation deadlinesare m odified    on ofthis Order.

     SIG N ED in Cham bers atW estPalm Beach,Florida this         day ofF         1.




                                                     D A LD M .M ID D LEBRO OK S
                                                     UN ITED STA TES D ISTRICT JU DG E



  CC'   Honorable Bruce E.Reinhart
        CounselofRecord
        Jordan Salkin,pro se
        Booking N o.3100098
        Theo Lacy Facility
        501 City Drive South
        O range,CA 92868




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